
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed, with costs.
We agree with the majority at the Appellate Division, and for the reasons stated in the opinion of Mr. Justice Vincent A. Lupiano, that Domler’s obligation under the repurchase *680agreement did not extend to the Roselle-Twintex lease which had been assigned by Yegen to appellant bank more than two months prior to the execution of the repurchase agreement.
We find it unnecessary to reach or consider other issues.
Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur in memorandum.
Order affirmed.
